                       Case 8-19-71807-reg                  Doc 6-2         Filed 03/12/19              Entered 03/12/19 15:47:57


 Information to identify the case:
 Debtor 1                 Ruben Dario Florez                                                          Social Security number or ITIN   xxx−xx−7840
                                                                                                      EIN   _ _−_ _ _ _ _ _ _
                          First Name   Middle Name     Last Name
 Debtor 2                                                                                             Social Security number or ITIN _ _ _ _
 (Spouse, if filing)      First Name   Middle Name     Last Name                                      EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court   Eastern District of New York
                                                                                                      Date case filed for chapter 13 3/11/19

 Case number:      8−19−71807−reg



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                 Revised: 12/17

For the debtor(s) listed above, a case has been filed under Chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.
                                           About Debtor 1:                                           About Debtor 2:
 1. Debtor's Full Name                     Ruben Dario Florez
      All other names used in the last 8        dba Motor Way Auto Transport Inc., dba Motor−Way
 2.
      years                                     Trading Inc.
                                                54 Grant Street
 3. Address
                                                Farmingdale, NY 11735
                                                Norma E Ortiz                                                     Contact Phone (718) 522−1117
                                                Ortiz & Ortiz LLP                                                 Email: email@ortizandortiz.com
    Debtor's Attorney
 4.                                             32−72 Steinway Street
    Name and address
                                                Suite 402
                                                Astoria, NY 11103
 5. Bankruptcy Trustee                          Michael J. Macco                                                  Contact Phone (631) 549−7900
    Name and address                            2950 Express Drive South                                          Email: ecf@maccosternlaw.com
                                                Suite 109
                                                Islandia, NY 11749
 6. Meeting of Creditors                        April 22, 2019 at 11:00 AM                                       Location:
                                                                                                                 Office of the United States Trustee, Long
                                                                                                                 Island Federal Courthouse, 560 Federal Plaza
                                                                                                                 − Room 561, Central Islip, NY 11722−4437
 7. Hearing on Confirmation of Plan            The debtor has or will file a plan. The hearing on confirmation will be held:
                                               Date: 5/23/19, Time: 09:30 AM, Location: United States Bankruptcy Court, Long Island Federal
                                               Courthouse, 290 Federal Plaza − Room 860, Central Islip, NY 11722
 8. Deadlines                                   Deadline to Object to Discharge or to Challenge                         Filing Deadline: 6/21/19
    The Bankruptcy Clerk's Office must          Dischargeability of Certain Debts:
    receive these documents and any              You must file:
    required filing fee by the following        • a motion if you assert that the debtors are
    deadlines.                                     not entitled to receive a discharge under
                                                   U.S.C. § 1328(f) or
                                                • a complaint if you want to have a particular
                                                   debt excepted from discharge under
                                                   11 U.S.C. § 523(a)(2) or (4).
                                                Deadline for holder(s) of a claim secured by a security interest in     Filing Deadline: 05/20/2019
                                                the debtor(s)' principal residence (Rule 3002(c)(7)(A)):
                                                Deadline for all creditors to file a Proof of Claim (except             Filing Deadline: 05/20/2019
                                                governmental units and holder(s) of a claim that is secured by a
                                                security interest in the debtor(s)' principal residence):
                                                Deadline for governmental units to file a Proof of Claim (except as Filing Deadline: 9/9/19
                                                otherwise provided in Fed. R. Bankr. P. 3002(c)(1)):
                                                Deadline to Object to Exemptions:                                       Filing Deadline: 30 days after the
                                                The law permits debtors to keep certain property as exempt. If                           conclusion of the
                                                you believe that the law does not authorize an exemption                                 meeting of creditors
                                                claimed, you may file an objection.

 9. Bankruptcy Clerk's Office                   Address of the Bankruptcy Clerk's Office:                         Hours Open:
    Documents in this case may be               290 Federal Plaza                                                 Monday − Friday 9:00 AM − 4:30 PM
    filed at this address.                      Central Islip, NY 11722
    You may inspect all records filed in                                                                          Contact Phone (631) 712−6200
    this case at this office or online at       Clerk of the Bankruptcy Court:
     www.pacer.gov.                             Robert A. Gavin, Jr.                                              Date: 3/12/19
                                                                                                                               For more information, see page 2
Official Form 309I                                        Notice of Chapter 13 Bankruptcy Case                                                page 1
               Case 8-19-71807-reg                  Doc 6-2           Filed 03/12/19              Entered 03/12/19 15:47:57


Debtor Ruben Dario Florez                                                                                                    Case number 8−19−71807−reg
10. Claims                              A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form "Official Form 410"
                                        may be obtained at www.uscourts.gov or any Bankruptcy Clerk's Office. If you do not file a Proof of Claim by
                                        the deadline, you might not be paid on your claim from other assets in the bankruptcy case. To be paid, you
                                        must file a proof of claim even if your claim is listed in the schedules that the debtor filed. Secured creditors
                                        retain rights in their collateral regardless of whether they file a Proof of Claim. Filing a Proof of Claim submits
                                        the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
                                        secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the right to a
                                        jury trial.

                                        Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of
                                        this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor
                                        may file a motion requesting the court to extend the deadline.

                                        Do not include this notice with any filing you make with the court.

11. Legal Advice                         The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights, consult an attorney.

12. Creditors May Not Take Certain       The filing of the case imposed an automatic stay against most collection activities. This means that creditors
    Actions                              generally may not take action to collect debts from the debtors or the debtors' property. For example, while the
                                         stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try
                                         to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise.
                                         Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under
                                         certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court
                                         to extend or impose a stay.

13. Meeting of Creditors                 A meeting of creditors is scheduled for the date, time and location listed on the front side. Debtors must attend
                                         the meeting to be questioned under oath by the trustee and by creditors. In a joint case, both spouses must
                                         attend. Creditors may attend, but are not required to do so. The meeting may be continued and concluded at a
                                         later date specified in a notice filed with the court.

14. Filing a Chapter 13 Bankruptcy       A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in
    Case                                 this court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows
                                         an individual with regular income and debts below a specified amount to adjust debts according to a plan. A
                                         plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear at the
                                         confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if the confirmation
                                         hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The debtor will
                                         remain in possession of the property and may continue to operate the business, if any, unless the court orders
                                         otherwise.

15. Creditors with a Foreign Address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
                                     extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                     any questions about your rights in this case.

16. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                        distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                        exempt. You may inspect that list at the Bankruptcy Clerk's Office or online at www.pacer.gov. If you believe
                                        that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline to
                                        object to exemption in line 8 on the front side.

17. Discharge of Debts                  Confirmation of a Chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                        However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                        are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                        except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                        523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                        If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                        you must file a motion objecting to Debtor's Discharge. The Bankruptcy Clerk's Office must receive the
                                        objection by the deadline to object to exemptions in line 8.

18. Option to Receive Notices            1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register for EBN at the
    Served by the Clerk by Email         BNC website https://bankruptcynotices.uscourts.gov/, or
    Instead of by U.S. Mail              2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice Request" with the
                                         Clerk of Court. Both options are FREE and allow the Clerk to quickly send you court−issued notices and
                                         orders by email.

19. Undeliverable Notices                Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the
                                         parties correct address, resend the returned notice, and notify this office of the parties change of address.
                                         Failure to provide all parties with a copy of the notice may adversely affect the debtor as provided by the
                                         Bankruptcy Court.

20. Form 121 Statement of Social         The debtor or debtor's attorney is required to bring a paper copy of the petition with full social security number
    Security #                           displayed to the first meeting of creditors.

21. Personal Financial Management        In order to receive a discharge, the debtor must complete a Personal Financial Management Course and must
    Course                               file a Certification About a Financial Management Course (Offical Form 423) no later than the last payment
                                         under the plan or upon the entry of a motion for a hardship discharge. If the Certification About a Financial
                                         Management Course is not filed within the allotted time, a discharge will not be issued and the case will be
                                         closed.

22. Hearing on Confirmation of the       The hearing on confirmation of the plan may be adjourned at the meeting of creditors without further notice.
    Plan; Dismissal of Case              The Court, on motion heard at the confirmation hearing, may dismiss the case or convert it to one under
                                         Chapter 7 if the debtor fails to timely file a plan or other required papers, fails to make a required
                                         preconfirmation payment, or fails to appear at the meeting of creditors or confirmation hearing. The Court, on
                                         motion heard at the confirmation hearing, may also dismiss the case or convert it to one under
                                         Chapter 7 if confirmation of the plan is denied.



Official Form 309I                                 Notice of Chapter 13 Bankruptcy Case                                                     page 2
